50 F.3d 789
    LEGALIZATION ASSISTANCE PROJECT OF the LOS ANGELES COUNTYFEDERATION OF LABOR (AFL-CIO);  et al., Plaintiffs-Appellees,v.IMMIGRATION &amp; NATURALIZATION SERVICE;  et al., Defendants-Appellants.
    Nos. 89-35345, 89-35593, 89-35613 and 89-35706.
    United States Court of Appeals,Ninth Circuit.
    March 31, 1995.
    
      On Remand from the United States Supreme Court.
      Before:  FARRIS, PREGERSON, and FERGUSON, Circuit Judges.
    
    
      1
      PRIOR REPORT:  709 F.Supp. 998.
    
    ORDER
    
      2
      The mandate of the United States Supreme Court certified on December 6, 1993, in Immigration and Naturalization Service, et al. v. Legalization Assistance Project of Los Angeles County Federation of Labor, et al., --- U.S. ----, 114 S.Ct. 594, 126 L.Ed.2d 560, vacated the decision of this court and remanded for further consideration in light of Heller v. Doe, --- U.S. ----, 113 S.Ct. 2637, 125 L.Ed.2d 257 (1993) and Reno v. Catholic Social Services, Inc., --- U.S. ----, 113 S.Ct. 2485, 125 L.Ed.2d 38 (1993).  We remand this matter to the district court for further consideration in light of Heller v. Doe and Reno v. Catholic Social Services, Inc.
    
    
      3
      Future appeals in this matter shall be assigned to this panel.
    
    